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           17      Perez, Jason Kokrak and Peter Uihlein
           18                           IN THE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
           19
                                               SAN FRANCISCO DIVISION
           20
                 PHIL MICKELSON, TALOR GOOCH,                      CASE NO. 3:22-cv-04486
           21    HUDSON SWAFFORD, MATT JONES,
                 BRYSON DECHAMBEAU, ABRAHAM                        CERTIFICATION OF INTERESTED
           22    ANCER, CARLOS ORTIZ, IAN POULTER,                 ENTITIES OR PERSONS PURSUANT TO
                 PAT PEREZ, JASON KOKRAK and PETER                 CIVIL LOCAL RULE 3-15
           23    UIHLEIN,

           24                         Plaintiffs,

           25           v.

           26    PGA TOUR, INC.,

           27                         Defendant.

           28
Gibson, Dunn &                      CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
Crutcher LLP
                                           PURSUANT TO CIVIL LOCAL RULE 3-15
                                                    CASE NO. 3:22-CV-04486
                        Case 3:22-cv-04486-DMR Document 3 Filed 08/03/22 Page 2 of 4



            1            Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons, associations
            2    of persons, firms, partnerships, corporations (including parent corporations) or other entities (i) have a
            3    financial interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-
            4    financial interest in that subject matter or in a party that could be substantially affected by the outcome of
            5    the proceeding: LIV Golf Incorporated is a corporation organized under the laws of the state of Delaware.
            6    There is no publicly held corporation owning 10% or more of LIV Golf Incorporated’s stock.
            7            These representations are made to enable the Court to evaluate possible disqualification or
            8    recusal. Plaintiffs will supplement its disclosure if necessary.
            9
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                 DATED: August 3, 2022                          GIBSON, DUNN & CRUTCHER LLP
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                      Case 3:22-cv-04486-DMR Document 3 Filed 08/03/22 Page 3 of 4


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                        Case 3:22-cv-04486-DMR Document 3 Filed 08/03/22 Page 4 of 4


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           15
                                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
           16
                        Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that
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                 concurrence in the filing of the document has been obtained from each of the other signatories to this
           18
                 document.
           19

           20    DATED: August 3, 2022                       GIBSON, DUNN & CRUTCHER LLP
           21

           22                                                By:          /s/ Rachel S. Brass
                                                                            Rachel S. Brass
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